Case 6:06-cr-00164-ACC-DAB Document 76 Filed 03/07/08 Page 1 of 2 PageID 172




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
     UNITED STATES OF AMERICA

     -vs-                                                  Case No. 6:06-cr-164-Orl-22DAB

     ANDREW EVERETT YOUNG

     __________________________________

                                        ORDER AND NOTICE
                                     OF SHOW CAUSE HEARING

            This cause comes before the Court on a Report and Recommendation (Doc. No. 74),

     entered by the Magistrate Judge after conducting a Final Probation Revocation Hearing

     pursuant to Local Rule 6.01(c)(16) on March 3, 2008.

            After an independent de novo review of the record in this matter, and noting that

     Defendant filed a Notice of No Objection and Unopposed Motion for Hearing requesting a

     hearing be set in 60 to 90 days, the Court agrees entirely with the findings of fact and

     conclusions of law in the Report and Recommendation.

            Therefore, it is ORDERED as follows:

            1.      The Report and Recommendation entered March 3, 2008 (Doc. No. 74) is

     ADOPTED and CONFIRMED and made a part of this Order.

            2.      Defendant shall personally appear before this court on THURSDAY, May 22,

     2008, at 9:00 A.M., at the U.S. Courthouse & Federal Building, 401 W. Central Boulevard,

     Sixth Floor, Courtroom 6A, Orlando, Florida, 32801, and shall show cause why probation

     should not be revoked.

            DONE and ORDERED in Chambers, Orlando, Florida on March 7, 2008.
Case 6:06-cr-00164-ACC-DAB Document 76 Filed 03/07/08 Page 2 of 2 PageID 173




     Copies furnished to:

     Counsel of Record
     United States Magistrate Judge
     United States Marshals Service
     United States Probation Office
     Courtroom Deputy
     ANDREW EVERETT YOUNG




                                          -2-
